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                                                   236-334968-22                                           THOMAS A. WILDER
                                   Cause No.
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DOLORES CASANOVA,                                            §                 IN THE DISTRICT COURT
    Plaintiff                                                §
                                                             §
vs.                                                          §                 JUDICIAL NO. - - - -
                                                             §
WALMART STORES TEXAS, LLC,                                   §
d/b/a NEIGHBORHOOD MARKET                                    §
BYWALMART                                                    §
       Defendant.                                            §                 TARRANT COUNTY, TEXAS



                                  PLAINTIFF'S ORIGINAL PETITION



TO THE HONORABLE JUDGE OF SAID COURT:

       Comes Now, DOLORES CASANOVA, Plaintiff herein, and brings this suit for relief against

WALMART STORES TEXAS, LLC D/B/A NEIGHBORHOOD MARKET BY WALMART,

Defendant herein, and would show unto the court as follows:

                             I.       DISCOVERY CONTROL PLAN LEVEL

        1.      Plaintiff intends to conduct discovery according to Discovery Level 1 because Plaintiff

seeks damages of less than $250,000.00.

                                    II.       PARTIES AND SERVICE

       2.       DOLORES CASANOVA ("Ms. Casanova") is an individual residing in Dallas,

Texas. The last three digits of her driver' s license number are 748 .

       3.       Defendant WALMART STORES TEXAS, LLC D/B/A NEIGHBORHOOD

MARKET BY WALMART (hereinafter "Defendant" or "Walmaii") is a foreign corporation

authorized to do business in Texas. Issuance of citation is requested at this time. Defendant

WalMart may be served with process on its registered agent:

                CT Corporation System
                1999 Bryan Street, Suite 900
                Dallas, Texas 75201 -3136.

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                                      III.     JURISDICTION AND VENUE

       4.      The subject matter in controversy is within the jurisdictional limits of this court.

       5.      This court has personal jurisdiction over the Defendant because Defendant regularly

conduct business in the State of Texas. Additionally, the comi has personal jurisdiction over the

Defendant pursuant to Section 17.042(2) of the Texas Civil Practices and Remedies Code because

Defendant committed a t01i in the State of the Texas.

       6.      Venue is proper pursuant to Section 15.002(a)(l) of the Texas Civil Practices and

Remedies Code because all or a substantial part of the events or omissions giving rise to the claim

occurred in Tarrant County, Texas.

                                                 IV.      FACTS

       7.      On or about August 3, 2020, Plaintiff suffered injuries on Defendant's premises. Ms.

Casanova was a patron, thus, an Invitee of Walma1i, store #3594, a grocery store owned by

Defendant Walmart and located at:2610W. Pioneer Parkway, Pantego, Texas 76013.

       8.      On this date, Ms. Casanova was in Walmaii heading towards customer service to

obtain a money order to pay for a bill. As she was in the middle of the customer service ai·ea, she

slipped and fell on water on the floor. The water was leaking from boxes a Walmaii employee was

opening. Ms. Casanova believes that there were frozen drinks or the like in those boxes. Defendant' s

employee nearby had on headphones and was not paying attention and there was no "wet floor" or

caution signs on display anywhere.

       9.      After the fall, a manager was called and he helped Ms. Casanova up. There were no

wet floor signs on the other end to wain the public and people like Ms. Casanova. The Defendant

never inspected and dried the floor, nor put a wai·ning sign in the area to wai·n persons such as the




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Defendant, despite employees being aware of the wet floor, causing Ms. Casanova to slip and fall,

injuring her neck and back.

        10.      Ms. Casanova almost immediately experienced pain. She suffered injuries and sought

medical attention for these injuries.

                                           V. CAUSES OF ACTION

A. NEGLIGENCE AND RESPONDEAT SUPERIOR

        11.      At all relevant times herein, Defendant had such control over the premises in question

that Defendant owed certain duties to Plaintiff; the breach of which proximately caused the injuries

set forth herein.

        12.      At all relevant times herein, Plaintiff was an "invitee," as classified under Texas law

at the time of the incident in question. Plaintiff entered Defendant's premises in question for the

mutual benefit of Plaintiff and Defendant and/or for a purpose connected with the business of

Defendant. Defendant' employees had control of the area where Plaintiff was injured.

        13.      Defendant, Defendant' agents, and employees failed to maintain a safe environment

for its guests by not properly inspecting the floor in the store, and dry the greens enough to stop the

leak in the establishment. The floor was still wet from the drinks boxes that were opened by a Wal-

Maii employee, that was causing a dangerous condition for anybody walking in that ai·ea, that resulted

in Plaintiffs injuries and damages. If Defendant' employee(s) had either dried the floor in that ai·ea,

inspected, or placed wai·ning signs or cones neai· the wet floor, Ms. Casanova 's injuries could have

been avoided.

        14.      At all times pertinent herein, Defendant, Defendant's agents and employees, who were

acting in the scope of their employment, ai·e liable to Plaintiff for their negligent conduct towai·d the

Plaintiff:

                 a. In Defendant failing to place waining cones or signs in the ai·ea to warn persons,

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                    such as Plaintiff, about the wet floor and/or unnatural accumulation of similar
                    materials;
               b.   In Defendant failing to maintain a safe environment for its guests by not properly
                    monitoring an area of the establishment set up for customers;
               c.   In Defendant failing to have appropriate safety procedures for their employees and
                    agents on how to place warning signs and cones in the area to prevent the smi of
                    injuries sustained by Plaintiff;
               d.   In Defendant, Defendant' s employee(s) and agents failing to use due and
                    reasonable care to avoid creating the dangerous condition that caused Plaintiff
                    severe injuries and damages;
               e.   In Defendant, Defendant's employee(s) and agents failing to use due and
                    reasonable care to remove the dangerous condition that caused Plaintiff severe
                    injuries and damages after it was created;
               f.   In Defendant failing to properly train and supervise its employees and agents to
                    identify and make safe dangerous conditions, which pose an unreasonable risk of
                    injury such as the condition that was created by Defendant' s employee(s) and
                    agent(s) who proximately caused Plaintiffs injuries and damages;
               g.   In Defendant's employee(s) and/or agent(s) failing to warn Plaintiff which
                    proximately caused Plaintiffs injuries and damages;
               h.   In Defendant, through its employee(s) and/or agent(s), creating an unreasonable
                    risk of harm by creating a dangerous condition; thereby putting Defendant on
                    notice because when an owner or occupier of a premise, or those for whose conduct
                    it is responsible, creates a condition that poses an unreasonable risk of harm, an
                    inference of knowledge may arise that Defendant knew or should have known
                    about the risk of danger to Plaintiff. Keetch v. Kroger, 845 S.W.2d 262, 265 (Tex.
                    1992); Robledo v. Kroger, 597 S.W.2d 560 (Tex. Civ. App.- Eastland 1980, writ
                    ref d n.r.e.) ; See Wal-Mart Stores, Inc. v. Diaz, 109 S.W.3d 584, 589 (Tex. 2003);

       1. Negligence

       14.     Defendant exercised control and possession of the location of the Plaintiffs fall

occurred.

       15.     Defendant had a duty to exercise the degree of care that a reasonably prudent person

would use to avoid harm to others under similar circumstances. Defendant and their employees failed

to make safe the floor in question on the morning of Plaintiffs fall by creating the subject condition

and/or allowing it to persist due to the leak from boxes opened earlier by a Walmaii employee. Thus,

Defendant created an unreasonably dangerous condition and then failed to warn or make safe the

floor; the only means of ingress or egress to the ai·ea where Plaintiff was walking.

       16.     Defendant negligently, cai·elessly, or recklessly disregarded their duty, which
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proximately caused Plaintiffs injuries and damages.

       2. Respondeat Superior

        17.      At all relevant times, Defendant' s negligent employee(s) was/were acting in the scope

of her/his/their employment with Defendant. Therefore, under the principle of respondeat superior,

the masters are liable for their servant's torts, and Defendant are liable for Plaintiffs damages.

                                      VI.      PLAINTIFF'S DAMAGES

        18.   As a direct and proximate result of Defendant' s conduct, Plaintiff suffered serious

physical injuries and resulting damages, detailed below:

                        A. Reasonable medical care and expenses in the past;
                        B. Reasonable and necessary medical care and expenses, which will in all
                             reasonable probability be incurred in the future ;
                        C. Physical pain and suffering in the past;
                        D. Physical pain and suffering in the future;
                        E. Mental anguish in the past;
                        F. Mental anguish in the future;
                        G. Loss of earnings in the past;
                        H. Physical impairment in the past;
                        I.   Physical impainnent in the future ;
                        J.   Disfigurement.


                                                      PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that the

Defendant be cited to appear and answer herein, and that upon a final hearing of the cause, judgment

be entered for the Plaintiff against Defendant for damages in an amount within the jurisdictional limits

of the Court; together with pre-judgment interest (from the date of injury through the date of

judgment) at the maximum rate allowed by law; post-judgment interest at the legal rate, costs of court;

and such other and further relief to which Plaintiff may be entitled at law or in equity.


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                                             Respectfully submitted,

                                            THE LAW OFFICES OF JEREMY W. MCKEY, PLLC

                                              ~~
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                                            ATTORNEYS FOR PLAINTIFF




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